     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                            NOTICE

                 GRANT OF PERMISSION FOR LEAVE TO APPEAL

The Court of Appeals has granted a petition for leave to appeal in this matter.

The $605.00 docketing and filing fee must be paid in the district court within 14 days after the
entry of the order granting permission for leave to appeal, unless the petitioner is the United
States government. Fed. R. App. P. 5. In addition, a cost bond must be filed if one is required
under Fed. R. App. P. 7.

A notice of appeal does not need to be filed as a copy of the Court's order granting permission
for leave to appeal which has been forwarded to the district court will serve as the notice of
appeal.

The entry date of the order granting permission to appeal serves as the date of the filing of the
notice of appeal for calculating time under the Federal Rules of Appellate Procedure. Petitioner
should notify the Court of Appeals in writing that the filing fee has been paid.

Upon receipt of the notice from petitioner, the appeal will be opened on the general docket. All
future filings regarding the appeal will be entered under the new docket number.

For the Court,

s/ Patricia S. Dodszuweit
Clerk



Dated: June 17, 2025

Sb/cc:

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